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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


KEITH LEE,

       Plaintiff,

v.                                            CASE NO. 3:20cv5816-MCR-HTC

JEROME SLAUGHTER,
DAVID COTNER and
ARTHUR FRAISER,

      Defendants.
_______________________________/


                                    ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated September 21, 2020. ECF No. 5. Plaintiff was provided

a copy of the Report and Recommendation and afforded an opportunity to file

objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made

a de novo determination of any timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined the Report and Recommendation should be

adopted.
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      Accordingly, it is now ORDERED as follows:

      1.    Plaintiff’s complaint, ECF No. 1, is DISMISSED for failure to state a

claim on which relief may be granted.


      2.    The clerk is directed to close this file.


      DONE AND ORDERED this 9th day of November 2020.




                                         s/ M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE




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